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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

CHARLES COBB
1734 “U” STREET N.W.
Washington, D.C. 20009

Plaintiff, : Case No.

Vv.

WASHINGTON METROPOLITAN
AREA TRANSIT AUTHORITY
600 5th STREET N.W.
WASHINGTON, D.C. 20001

SERVE: j
GENERAL MANAGER PAUL WIEDEFELD
GENERAL COUNSEL, PATRICIA YEE
WMATA
600 5" STREET N.W.
WDC 20001

Defendant.

COMPLAINT AND JURY DEMAND

Comes now Plaintiff, Charles Cobb, by and through his counsel Ronald Dixon,
Bynum & Jenkins, 1010 Cameron Street, Alexandria, Virginia, and now says: this

complaint is made against the Washington Metropolitan Area Transit Authority

(hereinafter “WMATA”). In support of this complaint Plaintiff states as follows:

 
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JURISDICTION AND VENUE
I. Jurisdiction is vested in this Court pursuant to the Washington Metropolitan
Area Transit Authority Compact (hereinafter “the WMATA Compact”), which
established original and concurrent Jurisdiction in this Court over matters involving
WMATA. See WMATA Compact Art. XVI § 81: D.C. Code § 9-1107.01(81).
2. This Court also has supplemental jurisdiction over related District of Columbia
common law claims pursuant to 28 U.S.C. § 1367, in that the common law claims
are so related to the federal claims that they form part of the same case or
controversy under Article III of the United States Constitution.
3. Venue is proper in this judicial district because all of the events or omissions

giving rise to the claims asserted herein occurred within the District of Columbia.

PLAINTIFF
4. Plaintiff Charles Cobb is a citizen of the United States and at all times relevant
to these matters resided at 1734 “U” Street N.W. Washington, D.C. 20009.
DEFENDANTS
5. Defendant WMATA isa tri-jurisdictional government agency created by
Congress by way of the WMATA Compact.
6. Pursuant to the WMATA Compact, the exclusive remedy for tort claims

brought against WMATA shall be by suit filed against WMATA; suits against the

 
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State or local governments of the WMATA Compact signatories, i.e., the District
of Columbia, Maryland and Virginia, are expressly prohibited.

7. Atall times relevant hereto, Defendant WMATA was the owner and operator
of a railway transit system, with multiple railway stations and lines located
throughout the District of Columbia.

8. At all times relevant hereto, Defendant WMATA was the owner and operator
of a railway transit station, known as the Gallery Place Metro Station, located at
630 H Street N.W., Washington, D.C. 20001.

9. Atall times relevant hereto, Defendant WMATA’s railway transit system,
including the Gallery Place Metro Station, was operated by duly authorized agents,
servants and/or employees of Defendant WMATA, who were acting within the
course and scope of their employment and/or agency with Defendant WMATA.
10. At all times relevant hereto, Defendant WMATA, through its duly authorized
agents, servants and/or employees, provided public transportation services
throughout the District of Columbia and maintained its principal place of business
within the District of Columbia.

11. The provision of mass transportation services, including the duties and
responsibilities that accompany such services, is a proprietary function within the

meaning of the WMATA Compact.

 
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12. Pursuant to the WMATA Compact, Defendant WMATA shall be held liable
for its negligent acts and/or omissions, including those of its agents, servants
and/or employees, committed in the conduct of any proprietary function. D.C.

Code § 9-1107.01 (80).

ALLEGATIONS COMMON TO ALL COUNTS
13. On December 6, 2019, Plaintiff was at his job, the United States Attorney’s
Office for the District of Columbia, finishing up a long day. Plaintiff left his office
and joined a friend of Plaintiff's, Witness 1, who was a former Assistant United
States Attorney in the same office, for the metro ride home. Plaintiffs’ work
address was 555 4" Street N.W. WDC 20001.
14. Plaintiff and Witness 1 proceeded to the Washington Metropolitan Area
Transit Authority metro rail stop located below the Capitol One Arena, Gallery
Place. Plaintiff and Witness 1 arrived at Gallery Place metro stop at approximately
between 9:00 and 9:30 P.M., on December 6, 2019,
15. The Plaintiff and Witness 1 descended down the escalator to the mezzanine
and started to walk to the turnstile for entry onto the metro platform. At that time
Plaintiff had no physical problems that prevented him from walking or negotiating
the escalator. He did not walk down the escalator he allowed it to bring him to the
area where he could access the train through the turnstiles near the Kiosk, leading

him to the Green line.

 
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16. Witness 1 also took the same path as Plaintiff, who got to the turnstile first.
Witness | saw Plaintiff suddenly and unexpectedly lurch forward and Plaintiff's
legs fly out from under him.

17. Plaintiff suddenly fell to the floor landing in a hurdlers position with one leg
extended forward and his other leg, left, bent awkwardly under him. Plaintiff gave
out a cry of pain and was not able to move or get up. Plaintiff was observed to be
in great pain and could not move.

18. Plaintiff fell close to the turnstile and close to the Kiosk, which lead to the
Green line. Plaintiff yelled for help as did Witness 1. No one came immediately
to assist as Witness | tried to console Plaintiff while he lay on the floor near the
turnstile. Plaintiff could not move his legs or get up.

19. Witness 1 looked into the Kiosk saw no one but never the less continued to
yell for help as other metro riders approached and moved through the other
turnstiles to board trains. This went on for a considerable period of time.

20. After about 15 to 20 minutes of this ordeal, Witness 1 saw a single male metro
employee appear. That employee looked at Plaintiff but backed away and said he
could not help.

21. Witness 1 asked this male employee of Defendant WMATA to please help but
he retreated saying that he would call a supervisor. Sometime after the male

employee appeared a female metro employee arrived and looked at Plaintiff. She

 
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also moved away from Plaintiff and went into an adjacent office near the turnstile
where Plaintiff lay still in pain.

22. Witness | observed the two metro employees the male and the female
supervisor come in and out of the office to look at Plaintiff but did not approach
him nor did they advise if they had called for assistance for Plaintiff.

Witness 1 used her personal phone to call for help by calling WMATA asking for
help.

23. Witness 1 and Plaintiff were finally attended to by an Emergency Medical
Tech ambulance that arrived some time later to assist Plaintiff. Plaintiff was also
attended to by a Metropolitan Police Department Officer Jabdiel F uentes, badge
number 9925. Exhibit 1

24. Plaintiff had to be lifted onto a stretcher and his leg straightened. Plaintiff
suffered a severe injury to his knee that was later determined to need immediate
surgery. It was concluded that Plaintiff had ruptured his patella (knee cap) and
needed surgery.

25. Plaintiff continued to suffer much pain as he was transferred to Howard
University Hospital from the Gallery Place metro station. Once the paramedics
were able to get Plaintiff off of the floor and onto the stretcher Witness 1 saw what
appeared to be a foreign object/substance under Plaintiffs left leg at or near the

location where he had fallen.

 
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26. Witness | did not touch or remove the object but noticed that that object was
near the location where Plaintiff had stepped before he lost his footing and ended
on the floor. Plaintiff was taken to Howard University Hospital and treated.

27. At all times relevant and material to this case Defendant WMATA knew or
should have known that the aforementioned dangerous condition of water or other
slippery substance existed and failed to clean or correct that condition.

28. At Howard University Hospital it was determined that Plaintiff had torn
sections of his knee cap that keep the patella from moving involuntarily thus
rendering his leg unable to support his body. Plaintiff was advised that he needed
immediate surgery and was admitted to the hospital after agreeing to the surgery.
29. Surgery was performed the next day, in the morning. Plaintiff had surgery and
continues to be under a doctor’s care. Plaintiff has been referred and is currently
engaged in treatment for rehabilitation for his left knee. Plaintiff has lost time
from his job with the Department of Justice and his pain continues as a result of
this incident.

30. As employees of WMATA the two people who arrived after Plaintiffs screams
for help and saw him lying on the floor near the turnstiles leading to the Green
Line had a duty to assist the Plaintiff. They did not.

31. At all times relevant to this case Plaintiff's fall was due to the violations of law

and negligence of Defendant WMATA. Defendant WMATA violations of law and

 
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negligence include but were not limited to, failing to warn others of the dangerous
conditions, failing to perform reasonable inspections necessary to detect or learn
about the dangerous condition failing to prevent or regulate access to dangerous
areas, and failing to exercise ordinary and reasonable care under the circumstances.
32. At all times relevant to this case WMATA’s duty to address negligent
maintenance and/or operation claims against it are clearly permissible and

WMATA does not enjoy sovereign immunity for these types of claims.

33. After Plaintiff's surgery Plaintiff continued therapy and returned to work.
Plaintiff directed his counsel to investigate the circumstances of his injury and
directed Plaintiff's counsel to gather documents. Exhibit 1

34. Plaintiff directed his counsel to send notice of his injury to WMATA and
asked WMATA to conduct an investigation of Plaintiffs injury at Gallery Place
N.W. Exhibit 2,3

35. Plaintiff's letter of June 16, 2020, to General Counsel Yee, Exhibit 2, included
a request for preservation of evidence not limited to any and all video or audio
recordings of the events taking place at the Gallery Place Metro stop on December
6, 2019. Plaintiff's letter of June 16, 2020, was received by Defendant WMATA

on June 6, 2020. Exhibit 4,4A

 
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COUNT ONE

(Defendant WMATA Negligent Infliction of Emotional
Distress on Plaintiff Charles Cobb)

36. Plaintiff incorporates by reference each preceding paragraph as if fully
set forth herein.

37. The negligent acts and omissions of Defendant WMATA caused serious
emotional distress to Plaintiff that a reasonable person in Defendant’s position
would have foreseen under the circumstances.

38. Defendant WMATA’s two employees were acting in the scope of their
employment as employees of WMATA and were acting on behalf of and in the
interests of their employer, WMATA when they observed Plaintiff laying on the
mezzanine floor after his fall. They did nothing to assist him.

39. The conduct of each of these Defendant WMATA employees, complained of
herein, was extreme and outrageous and intentionally and/or recklessly caused
Plaintiff severe emotional distress.

40. The conduct of Defendant WMATA through its duly authorized agents,
servants and/or employees, the two unidentified WMATA employees towards
Plaintiff constitutes the intentional infliction of emotional distress in violation of

the common law of the District of Columbia.

 
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41. As a direct and proximate result of Defendant WMATA’s wrongful conduct,
Plaintiff suffered significant enduring emotional pain and suffering, anxiety, fear
and shame, and other damages. Specifically, Plaintiff Charles Cobb has
experienced severe insomnia, persistent recurring nightmares, and acute anxiety
which affected Plaintiff to such a degree that Plaintiff was forced to seek and
obtain medical treatment, which is ongoing.

COUNT TWO
(Defendant WMATA Negligence on Plaintiff Charles Cobb)

42. Plaintiff incorporates by reference each preceding paragraph as if fully

set forth herein.

43. Atall times relevant to this case Defendant WMATA had the duty to exercise
ordinary care under the circumstances to keep the Gallery Place station reasonably
safe and to avoid injuring persons lawfully upon the premises, which included but
was not limited to, properly maintaining the area where Plaintiff was injured,
warning others of dangerous conditions, remedying dangerous conditions,
performing reasonable inspections necessary to detect or learn about dangerous
conditions, performing reasonable inspections necessary to detect or learn about
dangerous conditions, preventing or regulating access to dangerous areas, and
exercising ordinary and reasonable care under the circumstances . In violation of

its duty Defendant WMATA caused the incident set forth in this case.

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44. As a direct and proximate result of the negligence of Defendant WMATA
Plaintiff suffered injuries and damages as set forth above.

45. The injuries and damages were caused solely and proximately by the
negligence of Defendant WMATA without any contributory negligence on the part
of Plaintiff.

46. Plaintiff also alleges that Defendant WMATA’s employees’ failure to
immediately respond to Plaintiff's injuries reflects negligence as it relates to the
severity of Plaintiffs injuries.

47. The Defendant WMATA, as a common carrier offering public transportation
to passengers, including Plaintiffs’, through its duly authorized agents, servants
and/or employees, owed a duty to exercise reasonable care to its passengers,
including Plaintiffs’, Charles Cobb. This duty included, among other things, the
duty to take reasonable action to give its passengers, including the Plaintiffs’,
Charles Cobb, first aid, after it knows or has reason to know that they are injured,
and to care for them until they can be cared for by others. This duty extends to

cases where the injury is due to natural causes, pure accident, or to the negligence

of the Plaintiff himself.

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48. Defendant WMATA, through its duly authorized agents, servants and/or
employees, breached its duty of care, and was negligent in, among other things,
failing to timely and appropriately recognize, investigate and otherwise respond to
Plaintiffs’ Charles Cobb, following his initial fall at the turnstile, and resulting
injuries, and render or obtain timely and necessary emergency, medical and/or
other assistance, despite actual and/or constructive knowledge of this initial
fall/occurrence.

49. As the direct and proximate result, the Plaintiffs’ injuries from such fall were
exacerbated, in that the subsequent almost 30 minute delay would have been

avoided had such timely and appropriate assistance occurred.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that this Court:

(a) enter judgment against Defendant WMATA;

(b) in an amount to be determined at trial, but believed to be no more than five
hundred thousand dollars ($500,00.00) in damages;

(c) award Plaintiffs’ costs, interest, and reasonable attorneys’ fees for this
action; and

(f) order such other and further relief as the Court deems just and proper under

the circumstances.

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/s/ Ronald Dixon

Ronald Dixon

D.C. Bar No. 954628 Date: December 4, 2020
Bynum & Jenkins, PC

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Attorney for Plaintiff

JURY TRIAL DEMAND
Plaintiff hereby demands a trial by jury on all counts so triable.

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